 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of Kansas District of _________________
                                            (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                  Chapter 11
                                                               
                                                                                                                      Check if this is an
                                                                   Chapter 12
                                                                  Chapter 13
                                                                                                                         amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                          12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                           About Debtor 1:                                      About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                            Mui
                                           __________________________________________________    Kimdung
                                                                                                __________________________________________________
       identification (for example,        First name                                           First name
       your driver’s license or             V
                                           __________________________________________________    Thi
                                                                                                __________________________________________________
       passport).                          Middle name                                          Middle name

       Bring your picture                   Nguyen
                                           __________________________________________________    Pham
                                                                                                __________________________________________________
       identification to your meeting      Last name                                            Last name
       with the trustee.                   ___________________________                          ___________________________
                                           Suffix (Sr., Jr., II, III)                           Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                              2    5    6    3                                5    1    0    3
      your Social Security                 xxx        – xx – ____ ____ ____ ____                xxx   – xx – ____ ____ ____ ____
      number or federal                    OR                                                   OR
      Individual Taxpayer
      Identification number                9 xx – xx – ____ ____ ____ ____                      9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                 Case 17-12241
                                                 Voluntary Doc#
                                                           Petition 1     Filed 11/15/17
                                                                    for Individuals               Page 1 of 89
                                                                                    Filing for Bankruptcy                           page 1
                                    About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):



                                     I have not used any business names or EINs.                
4.   Any business names
                                                                                                 ✔ I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in         Roof Mechanics Inc.
                                    _________________________________________________            _________________________________________________
     the last 8 years               Business name                                                Business name

     Include trade names and
                                    _________________________________________________            _________________________________________________
     doing business as names        Business name                                                Business name


                                    XX-XXXXXXX
                                    _________________________________________________            _________________________________________________
                                    EIN                                                          EIN

                                    _________________________________________________            _________________________________________________

                                    EIN                                                          EIN



5.   Where you live                                                                              If Debtor 2 lives at a different address:


                                    319 Cavalcade Cir                                            _________________________________________________
                                    _________________________________________________
                                    Number     Street                                            Number     Street


                                    _________________________________________________            _________________________________________________


                                    Andover                                 KS
                                    _________________________________________________
                                                                                      67002      _________________________________________________
                                    City                            State   ZIP Code             City                            State   ZIP Code

                                    Butler County                                                _________________________________________________
                                    _________________________________________________
                                    County                                                       County


                                    If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                    above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                    any notices to you at this mailing address.                  any notices to this mailing address.


                                    _________________________________________________            _________________________________________________
                                    Number     Street                                            Number     Street

                                    _________________________________________________            _________________________________________________
                                    P.O. Box                                                     P.O. Box

                                    _________________________________________________            _________________________________________________
                                    City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing           Check one:                                                   Check one:

                                                                                                
     this district to file for      ✔ Over the last 180 days before filing this petition, I      ✔ Over the last 180 days before filing this petition, I
     bankruptcy
                                          have lived in this district longer than in any other      have lived in this district longer than in any other
                                          district.                                                 district.

                                     I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




     Official Form 101           Case 17-12241
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                                                                             Filing for Bankruptcy                                          page 2
Pa rt 2 :     T e ll t he Court About Y our Ba nk rupt c y Ca se


7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                     
                                     ✔
                                       Chapter 7
                                      Chapter 11
      under


                                      Chapter 12
                                      Chapter 13

8.    How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                      I need to pay the fee in installments. If you choose this option, sign and attach the
                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                     
                                     ✔
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for          
                                  ✔ No


                                   Yes.
      bankruptcy within the
      last 8 years?                         District ____________________________________________ When ______________ Case number __________________


                                            District ____________________________________________ When ______________ Case number __________________


                                            District ____________________________________________ When ______________ Case number __________________




10.   Are any bankruptcy              ✔ No

                                       Yes.
      cases pending or being
      filed by a spouse who is
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                               Debtor _________________________________________________                    R elationship to you ___________________________

                               District _______________________________________________ When _______________ Case number, if known__________________


                                     
                                      Yes.
11.   Do you rent your               ✔ No.     Go to line 12.
      residence?                               Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                               residence?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                   this bankruptcy petition.




      Official Form 101           Case 17-12241
                                           Voluntary Doc#
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                                                              for Individuals               Page 3 of 89
                                                                              Filing for Bankruptcy                                         page 3
Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor           
                                          ✔ No. Go to Part 4.
                                           Yes. Name and location of business
      of any full- or part-time
      business?
      A sole proprietorship is a
      business you operate as an                   _______________________________________________________________________________________
                                                   Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or               _______________________________________________________________________________________
                                                   Number    Street
      LLC.
      If you have more than one
                                                   _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                            _______________________________________________        _______      __________________________
                                                    City                                                  State        ZIP Code


                                                   Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above


13.   Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                   can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                          any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
                                          
      debtor?
                                          ✔ No.    I am not filing under Chapter 11.

                                          No.
      For a definition of small
      business debtor, see                         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                        the Bankruptcy Code.

                                          Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                   Bankruptcy Code.


Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


14.   Do you own or have any              
                                          ✔ No
                                           Yes.
      property that poses or is
      alleged to pose a threat                      What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                    If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                    Where is the property?




      Official Form 101                Case 17-12241
                                                Voluntary Doc#
                                                          Petition 1     Filed 11/15/17
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                                                                                   Filing for Bankruptcy                                         page 4
Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit               You must check one:                                          You must check one:
      counseling.
                                          
                                          ✔ I received a briefing from an approved credit              
                                                                                                       ✔ I received a briefing from an approved credit
                                             counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you              filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit        certificate of completion.                                   certificate of completion.
      counseling before you file for
                                             Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                             plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                           I received a briefing from an approved credit               I received a briefing from an approved credit
                                             counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                      filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                             certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                             Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                             you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                             plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities      I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                                 services from an approved agency, but was                    services from an approved agency, but was
                                             unable to obtain those services during the 7                 unable to obtain those services during the 7
                                             days after I made my request, and exigent                    days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                             of the requirement.                                          of the requirement.
                                             To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                             you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                             required you to file this case.                              required you to file this case.
                                             Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                             If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved                You must file a certificate from the approved
                                             agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                             may be dismissed.                                            may be dismissed.
                                             Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                             only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                             days.                                                        days.

                                           I am not required to receive a briefing about               I am not required to receive a briefing about
                                             credit counseling because of:                                credit counseling because of:

                                              Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                                deficiency that makes me                                     deficiency that makes me
                                                                incapable of realizing or making                             incapable of realizing or making
                                                                rational decisions about finances.                           rational decisions about finances.
                                              Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                                to be unable to participate in a                             to be unable to participate in a
                                                                briefing in person, by phone, or                             briefing in person, by phone, or
                                                                through the internet, even after I                           through the internet, even after I
                                                                reasonably tried to do so.                                   reasonably tried to do so.
                                              Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                                duty in a military combat zone.                              duty in a military combat zone.
                                             If you believe you are not required to receive a             If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




       Official Form 101
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                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
                                           
      you have?

                                           
                                               No. Go to line 16b.
                                           ✔   Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           
                                           
                                               No. Go to line 16c.
                                               Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________


                                       No.
17.   Are you filing under
      Chapter 7?                               I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                          No
      any exempt property is
      excluded and                       ✔
                                          Yes
      administrative expenses
      are paid that funds will be
      available for distribution
      to unsecured creditors?

                                       1-49                                    1,000-5,000                             25,001-50,000
                                                                               5,001-10,000                            50,001-100,000
18.   How many creditors do

                                       100-199                                 10,001-25,000                           More than 100,000
      you estimate that you           ✔ 50-99
      owe?
                                       200-999
                                       $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
                                       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
19.   How much do you

                                                                               $50,000,001-$100 million                $10,000,000,001-$50 billion
      estimate your assets to
      be worth?
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
                                      ✔ $100,001-$500,000


                                       $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
                                       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
20.   How much do you

                                       $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
      estimate your liabilities
      to be?
                                      
                                      ✔ $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.



                                       /s/ Mui V Nguyen                                             _____________________________
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                         ______________________________________________                /s/ Kimdung Thi Pham
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                                         11/15/2017                                                   11/15/2017
                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




            Official Form 101     Case 17-12241Voluntary
                                                   Doc#    1 Filed
                                                         Petition         11/15/17
                                                                  for Individuals Filing forPage   6 of 89
                                                                                             Bankruptcy                                              page 6
                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no



                                _________________________________
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.           /s/ Abdul Arif                                                    Date           11/15/2017
                                                                                                                  _________________
                                   Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                     Abdul Arif
                                   _________________________________________________________________________________________________
                                   Printed name

                                     The Law Office of Abdul Q. Arif
                                   _________________________________________________________________________________________________
                                   Firm name

                                    3116 East 31st Street South
                                   _________________________________________________________________________________________________
                                   Number Street

                                   _________________________________________________________________________________________________

                                    Wichita                                                         KS            67216
                                   ______________________________________________________ ____________ ______________________________
                                   City                                                    State        ZIP Code




                                   Contact phone (316)200-1707
                                                  ______________________________        Email address
                                                                                                        abdulqarifesq@gmail.com
                                                                                                        _________________________________________



                                    P76234                                                          KS
                                   ______________________________________________________ ____________
                                   Bar number                                              State




                             Case 17-12241               Doc# 1         Filed 11/15/17            Page 7 of 89
       Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
 Fill in this information to identify your case:

 Debtor 1
                     Mui V Nguyen
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2
                     Kimdung Thi Pham
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Kansas     District of __________

                                                                                                                                                                           Check if this is an
                                                                                                (State)
 Case number         ___________________________________________
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 160,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 71,798.04
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 231,798.04
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 13,740.50
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 12,825.23
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 920,753.83
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 947,319.56
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 4,869.68
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,831.00
                                                                                                                                                                            ________________




Official Form 106Sum                      CaseSummary
                                               17-12241       Doc#and
                                                      of Your Assets 1 Liabilities
                                                                         Filed 11/15/17           Page Information
                                                                                   and Certain Statistical 8 of 89                                                             page 1 of 2
                  Mui V Nguyen
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,140.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                     12,825.23
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                               12,825.23
                                                                                                            $_____________________




    Official Form 106Sum               CaseSummary
                                            17-12241       Doc#and
                                                   of Your Assets 1 Liabilities
                                                                      Filed 11/15/17           Page Information
                                                                                and Certain Statistical 9 of 89                               page 2 of 2
Fill in this information to identify your case and this filing:


Debtor 1
                    Mui V Nguyen
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2             Kimdung Thi Pham
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Kansas     District of __________
                                                                                    (State)


                                                                                                                                          Check if this is an
Case number         ___________________________________________

                                                                                                                                              amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                               12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    
         No. Go to Part 2.
    ✔    Yes. Where is the property?
                                                                 
                                                                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put


                                                                 
                                                                 ✔    Single-family home                            the amount of any secured claims on Schedule D:
      1.1. 319   Cavalcade Cir                                                                                      Creditors Who Have Claims Secured by Property:

                                                                 
           _________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                 
                                                                      Condominium or cooperative                    Current value of the Current value of the

                                                                 
                                                                      Manufactured or mobile home                   entire property?     portion you own?
             _________________________________________

                                                                 
                                                                      Land                                           160,000.00
                                                                                                                    $________________   160,000.00
                                                                                                                                      $_________________

                                                                 
                                                                      Investment property
             Andover                  KS     67002
             _________________________________________                                                              Describe the nature of your ownership

                                                                 
                                                                      Timeshare                                     interest (such as fee simple, tenancy by
             City                        State      ZIP Code
                                                                      Other __________________________________      the entireties, or a life estate), if known.


                                                                                                                     Check if this is community property
                                                                 Who has an interest in the property? Check one.    __________________________________________

                                                                  Debtor 1 only
                                                                  Debtor 2 only
            Butler County
            _________________________________________

                                                                 
             County


                                                                  At least one of the debtors and another
                                                                 ✔ Debtor 1 and Debtor 2 only



                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




                                                                
    If you own or have more than one, list here:                What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put


                                                                
                                                                     Single-family home                             the amount of any secured claims on Schedule D:
                                                                                                                    Creditors Who Have Claims Secured by Property.

                                                                
      1.2. ________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                
                                                                    Condominium or cooperative                      Current value of the     Current value of the

                                                                
                                                                     Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________

                                                                
                                                                     Land                                           $________________        $_________________

                                                                
                                                                     Investment property
             ________________________________________

                                                                
                                                                     Timeshare                                      Describe the nature of your ownership
             City                    State   ZIP Code
                                                                     Other __________________________________       interest (such as fee simple, tenancy by
                                                                                                                    the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                 Debtor 1 only
                                                                                                                    __________________________________________
             ________________________________________
                                                                 Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
             County


                                                                 At least one of the debtors and another              (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:


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                                                                                                                                                  page 1 of ___
                                                                                                                                                             10
                                                                 
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put


                                                                 
                                                                     Single-family home                                   the amount of any secured claims on Schedule D:
            ________________________________________                                                                      Creditors Who Have Claims Secured by Property.

                                                                 
            Street address, if available, or other description       Duplex or multi-unit building
                                                                                                                          Current value of the      Current value of the
                                                                 
                                                                     Condominium or cooperative
                                                                                                                          entire property?          portion you own?

                                                                 
            ________________________________________                 Manufactured or mobile home
                                                                                                                          $________________         $_________________
                                                                 
                                                                     Land


                                                                 
            ________________________________________
                                                                     Investment property
                                                                                                                          Describe the nature of your ownership

                                                                 
            City                    State   ZIP Code                 Timeshare
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
                                                                  Debtor 2 only
            ________________________________________


                                                                                                                           Check if this is community property
            County

                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another                    (see instructions)
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  160,000.00
   you have attached for Part 1. Write that number here. ...................................................................................... 
                                                                                                                                                    $_________________



Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   
         No
   ✔     Yes

                   Toyota                                        Who has an interest in the property? Check one.
                                                                 
    3.1.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                    Highlander
            Model: ____________________________
                                                                 ✔ Debtor 1 only
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  2015
                                  ____________                                                                            Current value of the      Current value of the
                                                                  At least one of the debtors and another
                                  40,000
            Approximate mileage: ____________                                                                             entire property?          portion you own?


                                                                  Check if this is community property (see
            Other information:
            Condition: Fair
                                                                                                                           16,000.00
                                                                                                                          $________________          16,000.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:
                   Mercedez                                      Who has an interest in the property? Check one.
                                                                 
    3.2.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                                                                 ✔ Debtor 1 only
                    G500
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  2002
                                  ____________                                                                            Current value of the      Current value of the

                                                                  At least one of the debtors and another
                                  160,000                                                                                 entire property?          portion you own?
            Approximate mileage: ____________


                                                                  Check if this is community property (see
            Other information:
            Condition: Poor
                                                                                                                           14,000.00
                                                                                                                          $________________          14,000.00
                                                                                                                                                    $________________
                                                                     instructions)




                                      Case 17-12241                  Doc# 1          Filed 11/15/17            Page 11 of 89                                       10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                       ____________________________                                                                                                     Do not deduct secured claims or exemptions. Put
  ____.    Make:
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                                                                                                                                                        Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________                                                                                                           the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   
   ✔    No
        Yes


                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.1.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.


                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________

                                                                              At least one of the debtors and another
                                                                                                                                                        Current value of the             Current value of the
            Other information:                                                                                                                          entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.2.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.

                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the

                                                                              At least one of the debtors and another
                                                                                                                                                        entire property?                 portion you own?
            Other information:


                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




   you have attached for Part 2. Write that number here ............................................................................................................................
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      30,000.00
                                                                                                                                                                                        $_________________




                                                                                                                                                                                                   3      10
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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.


    No
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Miscellaneous Household Goods and Furnishings

   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      2,000.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

    No
             collections; electronic devices including cell phones, cameras, media players, games

   
                            Miscellaneous Electronics
   ✔ Yes. Describe. ........                                                                                                                                                                          2,500.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;

   
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms


   
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                    $___________________

11. Clothes


    No
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

   
                          Miscellaneous Wearing Apparel
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   
        No                       Wedding Rings
   ✔    Yes. Describe. .........                                                                                                                                                                      1,500.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   
   ✔    No
        Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............


   for Part 3. Write that number here ........................................................................................................................................................ 
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        6,500.00
                                                                                                                                                                                                    $______________________




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                                                                                                                                                                                                               page ___ of __
Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   
   ✔   No
       Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   
       No
   ✔   Yes .....................                                             Institution name:


                       17.1. Checking account:
                                                                            Southwest National Bank/Business#4883
                                                                            ___________________________________________________________________                                                                      0.00
                                                                                                                                                                                                                    $__________________

                       17.2. Checking account:
                                                                            Emprise Bank#7371
                                                                            ___________________________________________________________________                                                                      32.00
                                                                                                                                                                                                                    $__________________

                       17.3. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.4. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.5. Certificates of deposit:                       ___________________________________________________________________                                                                     $__________________

                       17.6. Other financial account:                       ___________________________________________________________________
                                                                            Emprise Bank#4565                                                                                                                        0.00
                                                                                                                                                                                                                    $__________________

                       17.7. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.8. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.9. Other financial account:                       ___________________________________________________________________                                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   
   ✔   No
       Yes ..................                 Institution or issuer name:

                                              _________________________________________________________________________________________                                                                             $__________________
                                              _________________________________________________________________________________________                                                                             $__________________
                                              _________________________________________________________________________________________                                                                             $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
    Yes. Give specific
   ✔ No                                       Name of entity:                                                                                                                      % of ownership:

                                              _____________________________________________________________________                                                                ___________%                     $__________________
       information about
       them. ........................         _____________________________________________________________________                                                                ___________%                     $__________________
                                              _____________________________________________________________________                                                                ___________%                     $__________________




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                                                                                                                                                                                                                                    5 of __
                                                                                                                                                                                                                               page ___
20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   
    Yes. Give specific
   ✔ No

                                         Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________       $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
    Yes. List each
   ✔ No



       account separately.                    Institution name:
       Type of account:
                                                                                                                                      $__________________
            401(k) or similar plan:          ___________________________________________________________________________________
                                                                                                                                      $__________________
            Pension plan:                    ___________________________________________________________________________________
                                                                                                                                      $__________________
            IRA:                             ___________________________________________________________________________________
                                                                                                                                      $__________________
            Retirement account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Keogh:                           ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ...........................                       Institution name or individual:

                                         Electric:           ______________________________________________________________________   $___________________
                                         Gas:                ______________________________________________________________________   $___________________
                                         Heating oil:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rental unit:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Prepaid rent:       ______________________________________________________________________
                                                                                                                                      $___________________
                                         Telephone:          ______________________________________________________________________
                                                                                                                                      $___________________
                                         Water:              ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rented furniture:   ______________________________________________________________________
                                                                                                                                      $___________________
                                         Other:              ______________________________________________________________________
                                                                                                                                      $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   ✔   No
      Yes ...........................   Issuer name and description:
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________

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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   
       No
   ✔   Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   College Fund 529
                                                    ____________________________________________________________________________________                 35,266.04
                                                                                                                                                        $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   
   ✔   No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   
       No
   ✔                                                          Earned Income Tax Credits For One Tax Year
       Yes. Give specific information                                                                                         Federal:               Unknown
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   
   ✔   No
       Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   
   ✔   No
       Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



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                                                                                                                                                                 page ___ of __
31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   
   ✔    No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
                                                             _______________________________________________                                    ____________________________                         $__________________
                                                             _______________________________________________                                    ____________________________                         $__________________
                                                             _______________________________________________                                     ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

   
   property because someone has died.


   
   ✔    No
        Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights


   
   to set off claims


   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   
   ✔    No
        Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________




   for Part 4. Write that number here ........................................................................................................................................................ 
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                      35,298.04
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .



   
37. Do you own or have any legal or equitable interest in any business-related property?


   
   ✔    No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies


   
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________



                                                 Case 17-12241                            Doc# 1                Filed 11/15/17                         Page 17 of 89                                                     10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________




   
41. Inventory


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

   
   
        No
        Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________



   
43. Customer lists, mailing lists, or other compilations


   
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                
                      No
                      Yes. Describe.........
                                                                                                                                                                                                   $____________________



   
44. Any business-related property you did not already list


   
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________


   for Part 5. Write that number here ........................................................................................................................................................ 
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.



   
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?


   
   ✔    No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   
        No
        Yes ...........................

                                                                                                                                                                                                     $___________________


                                                 Case 17-12241                            Doc# 1                Filed 11/15/17                         Page 18 of 89                                                    10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
48. Crops—either growing or harvested

     
     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade


     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________



     
51. Any farm- and commercial fishing-related property you did not already list


     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     for Part 6. Write that number here ........................................................................................................................................................ 
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________




Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     
     ✔     No
           Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                160,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    30,000.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               6,500.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           35,298.04
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
                                                                                                                                       Copy personal property total 
62. Total personal property. Add lines 56 through 61. ...................                                             71,798.04
                                                                                                                     $________________                                                                            71,798.04
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       231,798.04
                                                                                                                                                                                                               $_________________


                                                     Case 17-12241                              Doc# 1                 Filed 11/15/17                          Page 19 of 89                                                      10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
 Fill in this information to identify your case:

                     Mui V Nguyen
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            Kimdung Thi Pham
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Kansas     District of __________

                                                                                                                                                 Check if this is an
                                                                                   (State)
 Case number         ___________________________________________
  (If known)
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                             4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                           exemption you claim

                                                          Copy the value from                       Check only one box
                                                          Schedule A/B                              for each exemption


                                                                                              $ ____________
                 319 Cavalcade Cir                                                                                                 60-2301, 15 § 9 - $160,000.00
 Brief                                                            160,000.00
                                                                 $________________
                                                                                              
 description:
                                                                                              ✔ 100% of fair market value, up to

 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        1.1


                                                                                              $ ____________
                 2015 Toyota Highlander                                                                                            60-2304 (c) - $16,000.00
 Brief
                                                                 $________________
                                                                   16,000.00
                                                                                              
 description:
                                                                                              ✔ 100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        3.1

                                                                                              $ ____________
                 2002 Mercedez G500                                                                                                60-2304 (c) - $14,000.00
 Brief
                                                                 $________________
                                                                   14,000.00
                                                                                              
 description:
                                                                                              ✔ 100% of fair market value, up to

 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           3.2

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     
     ✔     No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          
          
                  No
                  Yes



Official Form 106C
                                     Case 17-12241   Doc# 1 Filed 11/15/17 Page 20 of 89
                                                 Schedule C: The Property You Claim as Exempt                                                                           2
                                                                                                                                                              page 1 of __
Debtor 1        Mui V Nguyen & Kimdung Thi Pham
                _______________________________________________________                          Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

         description of the property and line
      Brief                                                                                 Amount of the                        Specific laws that allow exemption
                                                                     Current value of the   exemption you claim
      on Schedule A/B that lists this property                       portion you own
                                                                    Copy the value from    Check only one box
                                                                     Schedule A/B           for each exemption
               Household goods - Miscellaneous Household Goods and

                                                                                             $ ____________
                                                                                                                                  60-2304 (a) - $2,000.00
Brief        Furnishings
                                                                      2,000.00
                                                                     $________________
                                                                                            
description:
                                                                                            ✔ 100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         6


                                                                                             $ ____________
               Electronics - Miscellaneous Electronics                                                                            60-2304 (a) - $2,500.00
Brief
                                                                     $________________
                                                                      2,500.00
                                                                                            
description:
                                                                                            ✔ 100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:         7


                                                                                             $ ____________
               Clothing - Miscellaneous Wearing Apparel                                                                           60-2304 (a) - $500.00
Brief
                                                                     $________________
                                                                      500.00
                                                                                            
description:
                                                                                            ✔ 100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:         11


                                                                                             $ ____________
               Jewelry - Wedding Rings                                                                                            60-2304 (b) - $1,500.00
Brief
description:                                                         $________________
                                                                      1,500.00
                                                                                            
                                                                                            ✔ 100% of fair market value, up to
Line from                                                                                       any applicable statutory limit
Schedule A/B:          12


                                                                                             $ ____________
               Earned Income Tax Credits For One Tax Year (owed to                                                                60-2315 - $0.00
Brief          debtor)
description:                                                         $________________
                                                                      Unknown
                                                                                            
                                                                                            ✔ 100% of fair market value, up to

Line from                                                                                       any applicable statutory limit
Schedule A/B:           28


                                                                                             $ ____________
Brief
                                                                     $________________
                                                                                             100% of fair market value, up to
description:

Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                             $ ____________
Brief
                                                                     $________________
                                                                                             100% of fair market value, up to
description:
Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                             $ ____________
Brief
                                                                     $________________
                                                                                             100% of fair market value, up to
description:

                                                                                                any applicable statutory limit
Line from
Schedule A/B:

                                                                                             $ ____________
Brief
                                                                     $________________
                                                                                             100% of fair market value, up to
description:

Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                             $ ____________
Brief
                                                                     $________________
                                                                                             100% of fair market value, up to
description:
Line from                                                                                       any applicable statutory limit
Schedule A/B:

                                                                                             $ ____________
Brief
                                                                     $________________
                                                                                             100% of fair market value, up to
description:
                                                                                                any applicable statutory limit
Line from
Schedule A/B:

                                                                                             $ ____________
Brief
                                                                     $________________
                                                                                             100% of fair market value, up to
description:

Line from                                                                                       any applicable statutory limit
Schedule A/B:


  Official Form 106C
                                     Case 17-12241   Doc# 1 Filed 11/15/17 Page 21 of 89
                                                Schedule C: The Property You Claim as Exempt                                                                2   2
                                                                                                                                                    page ___ of __
 Fill in this information to identify your case:

                     Mui V Nguyen
 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            Kimdung Thi Pham
                     ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Kansas     District of __________
                                                                                           (State)

                                                                                                                                                        Check if this is an
 Case number         ___________________________________________
 (If known)
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).



      
1. Do any creditors have claims secured by your property?


      
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔      Yes. Fill in all of the information below.


Pa rt 1 :        List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1                                                        Describe the property that secures the claim:                     13,740.50
                                                                                                                           $_________________    160,000.00 $____________
                                                                                                                                              $________________ 0.00
       CitiMortgage
      ______________________________________
      Creditor’s Name                                      319 Cavalcade Cir - $160,000.00
       PO BOX 6243
      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
                                                           
       Sioux Falls           SD 57117
      ______________________________________

                                                           
      City                          State    ZIP Code           Contingent


                                                           
                                                                Unliquidated
  Who owes the debt? Check one.
  
                                                                Disputed


  
        Debtor 1 only
                                                           Nature of lien. Check all that apply.

                                                          
        Debtor 2 only
                                                           ✔    An agreement you made (such as mortgage or secured

  
  ✔     Debtor 1 and Debtor 2 only

                                                           
                                                                car loan)
        At least one of the debtors and another

                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)
  
                                                           
     Check if this claim relates to a                           Judgment lien from a lawsuit
     community debt                                             Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number           3961
2.2                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
                                                           
      ______________________________________

                                                           
      City                          State    ZIP Code           Contingent


                                                           
                                                                Unliquidated
  Who owes the debt? Check one.
  
                                                                Disputed

  
        Debtor 1 only
                                                           Nature of lien. Check all that apply.

                                                          
        Debtor 2 only
                                                                An agreement you made (such as mortgage or secured
  
        Debtor 1 and Debtor 2 only

                                                           
                                                                car loan)
        At least one of the debtors and another

                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)
  
                                                           
     Check if this claim relates to a                           Judgment lien from a lawsuit
     community debt                                             Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $_________________
                                                                                                                             13,740.50
                                            Case 17-12241                  Doc# 1           Filed 11/15/17           Page 22 of 89
   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        1
              Mui V Nguyen
Debtor 1       _______________________________________________________                          Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                  Case 17-12241              Doc# 1         Filed 11/15/17            Page 23 of 89
  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
  Fill in this information to identify your case:

                           Mui V Nguyen
      Debtor 1           __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
                          Kimdung Thi Pham
      (Spouse, if filing) First Name                   Middle Name              Last Name




                                                                                                                                                       Check if this is an
      United States Bankruptcy Court for the: ______________________
                                              District of Kansas     District of __________
                                                                                            (State)
      Case number         ___________________________________________
      (If known)                                                                                                                                          amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who H a ve U nse c ure d Cla im s                                                                                                      12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s


          No. Go to Part 2.
 1. Do any creditors have priority unsecured claims against you?


         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim   Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1                                                                                                                                 12,377.20 $___________
                                                                                                                                                 0.00       12,377.20
            Department of the Treasury
           ____________________________________________                Last 4 digits of account number      0367                  $_____________           $____________
           Priority Creditor’s Name
            Internal Revenue Service
           ____________________________________________                When was the debt incurred?          2013,  2014 and 2015
                                                                                                            ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       
            Kansas City              MO      64999-0149
           ____________________________________________

                                                                       
                                                                           Contingent
           City                                State    ZIP Code


                                                                       
                                                                           Unliquidated
           Who incurred the debt? Check one.
           
                                                                           Disputed

           
           ✔      Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
           
                  Debtor 2 only

                                                                       
           
                  Debtor 1 and Debtor 2 only                               Domestic support obligations
                  At least one of the debtors and another
                                                                       
           
                                                                       ✔   Taxes and certain other debts you owe the government
                  Check if this claim is for a community debt             Claims for death or personal injury while you were
                                                                           intoxicated
                                                                       
           Is the claim subject to offset?
                                                                          Other. Specify _________________________________
            Yes
            ✔ No



2.2         Kansas Department of Labor
           ____________________________________________                Last 4 digits of account number                                 Unknown $___________
                                                                                                                                      $_____________ Unknown $____________
                                                                                                                                                              Unknown
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
            266 N Main St
           ____________________________________________
           Number            Street
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       
            Suite 100
           ____________________________________________


                                                                       
           Wichita                   KS      67202                         Contingent
           ____________________________________________

                                                                       
           City                                State    ZIP Code           Unliquidated
           Who incurred the debt? Check one.                               Disputed
           
           
                  Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                                                                       
           
                  Debtor 2 only
                                                                           Domestic support obligations

                                                                      
                  Debtor 1 and Debtor 2 only
                                                                           Taxes and certain other debts you owe the government
                                                                       
                  At least one of the debtors and another
           
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                                Employee benefits contribution
           
                                                                       ✔   Other. Specify _________________________________


           
           ✔      No
                  Yes
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 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1 of ___
                                                                                                                                                                      31
                    Mui V Nguyen
Debtor 1           _______________________________________________________                                 Case number (if known)_____________________________________
                   First Name     Middle Name          Last Name


Pa rt 1 :          Y our PRI ORI T Y Unse c ure d Cla im s ─ Cont inua t ion Pa ge

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                            Total claim   Priority     Nonpriority
                                                                                                                                                amount       amount

2.3                                                                                                                                 Unknown $__________
                                                                                                                                                Unknown $____________
                                                                                                                                                          Unknown
       Kansas Department of Revenue
      ____________________________________________                 Last 4 digits of account number      0051                      $____________
      Priority Creditor’s Name
       915 SW Harrison Street
      ____________________________________________                 When was the debt incurred?          ____________
      Number            Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                   
                                                                   
      Topeka                   KS      66625-2007                      Contingent
      ____________________________________________

                                                                   
      City                                State   ZIP Code             Unliquidated
                                                                       Disputed
      Who incurred the debt? Check one.
                                                                  Type of PRIORITY unsecured claim:
      
      ✔      Debtor 1 only

                                                                   
      
             Debtor 2 only

                                                                   
                                                                       Domestic support obligations

      
             Debtor 1 and Debtor 2 only

                                                                   
                                                                   ✔   Taxes and certain other debts you owe the government
             At least one of the debtors and another
                                                                       Claims for death or personal injury while you were
      
                                                                   
                                                                       intoxicated
             Check if this claim is for a community debt
                                                                       Other. Specify _________________________________

      Is the claim subject to offset?
      
      
      ✔      No
             Yes

2.4                                                                                                                                448.03         0.00        448.03
      Kansas Department of Revenue
      ____________________________________________                 Last 4 digits of account number     3636                       $____________ $__________ $____________
      Priority Creditor’s Name
      915 SW Harrison Street
      ____________________________________________                 When was the debt incurred?          ____________
      Number            Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                   
                                                                   
      Topeka                   KS      66625-2007                      Contingent
      ____________________________________________

                                                                   
      City                                State   ZIP Code             Unliquidated
                                                                       Disputed
      Who incurred the debt? Check one.
                                                                  Type of PRIORITY unsecured claim:
      
             Debtor 1 only

                                                                   
      
      ✔      Debtor 2 only

                                                                   
                                                                       Domestic support obligations

      
             Debtor 1 and Debtor 2 only

                                                                   
                                                                   ✔   Taxes and certain other debts you owe the government
             At least one of the debtors and another
                                                                       Claims for death or personal injury while you were
      
                                                                   
                                                                       intoxicated
             Check if this claim is for a community debt
                                                                       Other. Specify _________________________________

      Is the claim subject to offset?
      
      
      ✔      No
             Yes


      ____________________________________________                 Last 4 digits of account number                                $____________ $__________ $____________
      Priority Creditor’s Name

      ____________________________________________                 When was the debt incurred?          ____________
      Number            Street

      ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                   
                                                                   
                                                                       Contingent
      ____________________________________________

                                                                   
      City                                State   ZIP Code             Unliquidated
                                                                       Disputed
      Who incurred the debt? Check one.
                                                                  Type of PRIORITY unsecured claim:
      
             Debtor 1 only

                                                                   
      
             Debtor 2 only

                                                                   
                                                                       Domestic support obligations

      
             Debtor 1 and Debtor 2 only

                                                                   
                                                                       Taxes and certain other debts you owe the government
             At least one of the debtors and another
                                                                       Claims for death or personal injury while you were
      
                                                                   
                                                                       intoxicated
             Check if this claim is for a community debt
                                                                       Other. Specify _________________________________

      Is the claim subject to offset?
      
      
             No
             Yes
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                                                                                                                                                                 2 of ___
                                                                                                                                                                       31
                       Mui V Nguyen
 Debtor 1             _______________________________________________________                            Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim
4.1       AAA Portable Services LLC
         _____________________________________________________________
         Nonpriority Creditor’s Name                                                 Last 4 digits of account number       7683
                                                                                                                                                               272.23
                                                                                                                                                             $__________________
          P.O. Box 16973
         _____________________________________________________________               When was the debt incurred?          ____________
         Number            Street

         _______________________________________________________________________

                                                                                     As of the date you file, the claim is: Check all that apply.

                                                                                     
         Wichita                             KS        67216
         _____________________________________________________________
         City                                             State          ZIP Code

                                                                                     
                                                                                         Contingent
         Who incurred the debt? Check one.
                                                                                    
                                                                                         Unliquidated


         
         ✔      Debtor 1 only                                                            Disputed


         
                Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
         
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                              
                                                                                     
                                                                                         Student loans

               Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                     
                                                                                         that you did not report as priority claims
         Is the claim subject to offset?
                                                                                    
                                                                                         Debts to pension or profit-sharing plans, and other similar debts


         
         ✔      No                                                                   ✔   Other. Specify ______________________________________
                Yes

4.2      AAA Portable Services LLC
         _____________________________________________________________               Last 4 digits of account number       6783                               69.88
                                                                                                                                                             $__________________
         Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
         P.O. Box 16973
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
         Wichita                             KS        67216                         
                                                                                     
         _____________________________________________________________                   Contingent
         City                                             State          ZIP Code

                                                                                     
                                                                                         Unliquidated

         
         Who incurred the debt? Check one.
                                                                                         Disputed

         
         ✔ Debtor 1 only


         
                Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
                                                                                    
                Debtor 1 and Debtor 2 only


                                                                                     
                At least one of the debtors and another                                  Student loans

         
                                                                                         Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                     
                                                                                         that you did not report as priority claims


                                                                                     
         Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                    ✔   Other. Specify ______________________________________

         
          ✔ No

                Yes

4.3       AAA Portable Services LLC
         _____________________________________________________________                                                     5782
         Nonpriority Creditor’s Name
                                                                                     Last 4 digits of account number
                                                                                                                                                              69.88
                                                                                                                                                             $_________________
          P.O. Box 16973                                                             When was the debt incurred?          ____________
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                     As of the date you file, the claim is: Check all that apply.
         Wichita                             KS        67216
                                                                                     
         _____________________________________________________________
         City                                             State          ZIP Code

                                                                                     
         Who incurred the debt? Check one.                                               Contingent

                                                                                    
                                                                                         Unliquidated

         
         ✔      Debtor 1 only
                                                                                         Disputed

         
                Debtor 2 only


         
                Debtor 1 and Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
                                                                                     
                At least one of the debtors and another

                                                                                    
                                                                                         Student loans
                Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                     
                                                                                         that you did not report as priority claims
         Is the claim subject to offset?
                                                                                    
                                                                                         Debts to pension or profit-sharing plans, and other similar debts

         
         ✔      No                                                                   ✔   Other. Specify ______________________________________
                Yes


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                                                                                                                                                                              31
                     Mui V Nguyen
 Debtor 1           _______________________________________________________                            Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.4     AAA Portable Services LLC
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                 Last 4 digits of account number       4762
                                                                                                                                                             80.63
                                                                                                                                                           $__________________
        P.O. Box 16973
       _____________________________________________________________               When was the debt incurred?          ____________
       Number            Street

       _______________________________________________________________________

                                                                                   As of the date you file, the claim is: Check all that apply.

                                                                                   
       Wichita                             KS        67216
       _____________________________________________________________
       City                                             State          ZIP Code

                                                                                   
                                                                                       Contingent
       Who incurred the debt? Check one.
                                                                                  
                                                                                       Unliquidated


       
       ✔      Debtor 1 only                                                            Disputed


       
              Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
       
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                              
                                                                                   
                                                                                       Student loans

             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                   
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?
                                                                                  
                                                                                       Debts to pension or profit-sharing plans, and other similar debts


       
       ✔      No                                                                   ✔   Other. Specify ______________________________________
              Yes

4.5    Alside Supply Center, Wichita
       _____________________________________________________________               Last 4 digits of account number       1407                               446.03
                                                                                                                                                           $__________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
       3002 W Pawnee
       _____________________________________________________________
       Number            Street

       Suite 106
       _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
       Wichita                             KS        67213                         
                                                                                   
       _____________________________________________________________                   Contingent
       City                                             State          ZIP Code

                                                                                   
                                                                                       Unliquidated

       
       Who incurred the debt? Check one.
                                                                                       Disputed

       
        ✔ Debtor 1 only


       
              Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
                                                                                  
              Debtor 1 and Debtor 2 only


                                                                                   
              At least one of the debtors and another                                  Student loans

       
                                                                                       Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt
                                                                                   
                                                                                       that you did not report as priority claims


                                                                                   
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                  ✔   Other. Specify ______________________________________

       
        ✔ No

              Yes

4.6     American Interstate Insurance Co.
       _____________________________________________________________                                                     6031
       Nonpriority Creditor’s Name
                                                                                   Last 4 digits of account number
                                                                                                                                                            15,946.00
                                                                                                                                                           $_________________
        2301 HWY 190 West                                                          When was the debt incurred?          ____________
       _____________________________________________________________
       Number            Street

       _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Deridder                            LA        70634
                                                                                   
       _____________________________________________________________
       City                                             State          ZIP Code

                                                                                   
       Who incurred the debt? Check one.                                               Contingent

                                                                                  
                                                                                       Unliquidated

       
       ✔      Debtor 1 only
                                                                                       Disputed

       
              Debtor 2 only


       
              Debtor 1 and Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
                                                                                   
              At least one of the debtors and another

                                                                                  
                                                                                       Student loans
              Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                   
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?
                                                                                  
                                                                                       Debts to pension or profit-sharing plans, and other similar debts

       
       ✔      No                                                                   ✔   Other. Specify ______________________________________
              Yes


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                                                                                                                                                                            31
                     Mui V Nguyen
 Debtor 1           _______________________________________________________                            Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.7     American Mechanical Inc.
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                             79.06
                                                                                                                                                           $__________________
        1608 US-54
       _____________________________________________________________               When was the debt incurred?          ____________
       Number            Street

       _______________________________________________________________________

                                                                                   As of the date you file, the claim is: Check all that apply.

                                                                                   
       Andover                             KS        67002
       _____________________________________________________________
       City                                             State          ZIP Code

                                                                                   
                                                                                       Contingent
       Who incurred the debt? Check one.
                                                                                  
                                                                                       Unliquidated


       
       ✔      Debtor 1 only                                                            Disputed


       
              Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
       
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                              
                                                                                   
                                                                                       Student loans

             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                   
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?
                                                                                  
                                                                                       Debts to pension or profit-sharing plans, and other similar debts


       
       ✔      No                                                                   ✔   Other. Specify ______________________________________
              Yes

4.8    Arick Hughes and Sons
       _____________________________________________________________               Last 4 digits of account number                                          178.90
                                                                                                                                                           $__________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
       335 S Meridian Ave
       _____________________________________________________________
       Number            Street

       _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
       Valley Center                       KS        67147                         
                                                                                   
       _____________________________________________________________                   Contingent
       City                                             State          ZIP Code

                                                                                   
                                                                                       Unliquidated

       
       Who incurred the debt? Check one.
                                                                                       Disputed

       
        ✔ Debtor 1 only


       
              Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
                                                                                  
              Debtor 1 and Debtor 2 only


                                                                                   
              At least one of the debtors and another                                  Student loans

       
                                                                                       Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt
                                                                                   
                                                                                       that you did not report as priority claims


                                                                                   
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                  ✔   Other. Specify ______________________________________

       
        ✔ No

              Yes

4.9     Associated Industries Inc.
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                   Last 4 digits of account number
                                                                                                                                                            298.35
                                                                                                                                                           $_________________
        225 N Wabash Ave                                                           When was the debt incurred?          ____________
       _____________________________________________________________
       Number            Street

       _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wichita                             KS        67214
                                                                                   
       _____________________________________________________________
       City                                             State          ZIP Code

                                                                                   
       Who incurred the debt? Check one.                                               Contingent

                                                                                  
                                                                                       Unliquidated

       
       ✔      Debtor 1 only
                                                                                       Disputed

       
              Debtor 2 only


       
              Debtor 1 and Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
                                                                                   
              At least one of the debtors and another

                                                                                  
                                                                                       Student loans
              Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                   
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?
                                                                                  
                                                                                       Debts to pension or profit-sharing plans, and other similar debts

       
       ✔      No                                                                   ✔   Other. Specify ______________________________________
              Yes


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                                                                                                                                                                            31
                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Atlas Electric LLC.
4.10 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                            413.75
                                                                                                                                                          $__________________
       1607 N Wabash Ave
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wichita                             KS        67214
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.11 _____________________________________________________________
     Belger Cartage Service, Inc.                                                 Last 4 digits of account number       4530                               4,485.15
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      2555 S Kessler Circle
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67217                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Belger Cartage Service, Inc.
4.12 _____________________________________________________________                                                      4530
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           3,773.65
                                                                                                                                                          $_________________
       2555 S Kessler Circle                                                      When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67217
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Better Business Bureau
4.13 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                            262.50
                                                                                                                                                          $__________________
       345 N Riverview
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street
       Suite 720
      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wichita                             KS        67203
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.14 _____________________________________________________________
     Bizfi                                                                        Last 4 digits of account number                                          168,748.00
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      460 Park Avenue S
      _____________________________________________________________
      Number            Street

      10th Fl
      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      New York                            NY        10016                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Busby Ford & Reimer, LLC
4.15 _____________________________________________________________                                                      3309
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           1,950.00
                                                                                                                                                          $_________________
       10000 West 37th St North                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67205
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                                                                                                                                                                           31
                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Capital One Bank (USA) N.A.
4.16 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       2884
                                                                                                                                                            2,052.40
                                                                                                                                                          $__________________
       P.O. Box 60599
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      City of Industry                    CA        91716-0599
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
             Yes

4.17 _____________________________________________________________
     Carlisle Roofing Systems Inc.                                                Last 4 digits of account number       1595                               1,393.20
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      21485 Network Place
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Chicago                             IL        60673-1227                    
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Central Steel Inc.
4.18 _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           2,488.82
                                                                                                                                                          $_________________
       240 W 10th St N                                                            When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67203
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Chase Card
4.19 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       6757
                                                                                                                                                            6,549.76
                                                                                                                                                          $__________________
       PO BOX 15123
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wilmington                          DE        19850
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
             Yes

4.20 _____________________________________________________________
     Chase Card                                                                   Last 4 digits of account number       1863                               11,224.18
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      PO BOX 15123
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wilmington                          DE        19850                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Credit Card Debt
                                                                                      Other. Specify ______________________________________

      
       ✔ No

             Yes

      Chase Card
4.21 _____________________________________________________________                                                      1245
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           2,281.81
                                                                                                                                                          $_________________
       PO BOX 15123                                                               When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wilmington                          DE        19850
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Chase Card
4.22 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       3986
                                                                                                                                                            9,866.27
                                                                                                                                                          $__________________
       PO BOX 15123
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wilmington                          DE        19850
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
             Yes

4.23 _____________________________________________________________
     City Blue Print, Inc.                                                        Last 4 digits of account number                                          415.72
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      1400 E. Waterman
      _____________________________________________________________
      Number            Street

      P.O. Box 544
      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67201                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      City of Wichita
4.24 _____________________________________________________________                                                      1060
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           29.07
                                                                                                                                                          $_________________
       P.O. Box 4209                                                              When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67204
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Classic Forms & Design Co
4.25 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                            60.47
                                                                                                                                                          $__________________
       2417 W 13th St N
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wichita                             KS        67203
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.26 _____________________________________________________________
     Commercial Trade Services                                                    Last 4 digits of account number                                          108.00
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      510 E 46th St S
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67216                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Cox Business
4.27 _____________________________________________________________                                                      1001
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           406.53
                                                                                                                                                          $_________________
       PO BOX 1259                                                                When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Oaks                                PA        19456
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Telephone / Internet services
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      D.J. Roofing Supply, Inc.
4.28 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                            55,724.23
                                                                                                                                                          $__________________
       P.O. Box 8165
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Springfield                         MO        65801
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
             Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
      ✔      Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.29 _____________________________________________________________
     Discover                                                                     Last 4 digits of account number       2209                               12,239.23
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      P. O. Box 6103
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Carol Stream                        IL        60197-6103                    
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
             Debtor 1 only


      
      ✔      Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Credit Card Debt
                                                                                      Other. Specify ______________________________________

      
       ✔ No

             Yes

      Discover
4.30 _____________________________________________________________                                                      5596
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           17,873.29
                                                                                                                                                          $_________________
       P. O. Box 6103                                                             When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Carol Stream                        IL        60197-6103
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Discover Personal Loans
4.31 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       3549
                                                                                                                                                            769.44
                                                                                                                                                          $__________________
       PO BOX 6105
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Carol Stream                        IL        60197-6105
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Personal Loan
             Yes

4.32 _____________________________________________________________
     Discover Personal Loans                                                      Last 4 digits of account number       8190                               29,764.52
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      PO BOX 6105
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Carol Stream                        IL        60197-6105                    
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
             Debtor 1 only


      
      ✔      Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Personal Loan
                                                                                      Other. Specify ______________________________________

      
       ✔ No

             Yes

      EcoPure
4.33 _____________________________________________________________                                                      1987
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           Unknown
                                                                                                                                                          $_________________
       255 North Hydraulic                                                        When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67214
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Fedex Revenue Recovery Dept
4.34 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       8828
                                                                                                                                                            96.00
                                                                                                                                                          $__________________
       P.O. Box 94515
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Palatine                            IL        60094-4515
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.35 _____________________________________________________________
     Ferrellgas                                                                   Last 4 digits of account number       0022                               240.78
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      P.O. Box 173940
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Denver                              CO        80217-3940                    
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Fincher's Findings, Inc.
4.36 _____________________________________________________________                                                      3038
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           880.97
                                                                                                                                                          $_________________
       900 W Central                                                              When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
       P.O. Box 289
      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Medicine Lodge                      KS        67104
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Hilton Plaster Co., Inc.
4.37 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       8431
                                                                                                                                                            9,928.00
                                                                                                                                                          $__________________
       P.O. Box 9181
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wichita                             KS        67277
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.38 _____________________________________________________________
     Intrust Bank, NA                                                             Last 4 digits of account number       6545                               2,905.60
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      PO Box 1
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67201-5001                    
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
             Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
      ✔      Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Overdrawn Bank Account
                                                                                      Other. Specify ______________________________________

      
       ✔ No

             Yes

      Intrust Bank/ Cardmember Service
4.39 _____________________________________________________________                                                      1181
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           9,838.69
                                                                                                                                                          $_________________
       PO Box 790408                                                              When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      St. Louis                           MO        631790408
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      James T. Wiesen
4.40 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                            9,000.00
                                                                                                                                                          $__________________
       3205 N. Broadway St
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wichita                             KS        67219
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Lease Agreement
             Yes

4.41 _____________________________________________________________
     KCNR, LLC                                                                    Last 4 digits of account number       3606                               622.00
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      230 S. Laura
      _____________________________________________________________
      Number            Street

      Suite 101
      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67211                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Kamen Wiping Materials
4.42 _____________________________________________________________                                                      1595
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           73.10
                                                                                                                                                          $_________________
       3930 N Bridgeport Circle                                                   When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67219
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Kansas Gas Services
4.43 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       5473
                                                                                                                                                            416.06
                                                                                                                                                          $__________________
       P.O. Box 219046
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Kansas City                         MO        64121
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Utility Services
             Yes

4.44 _____________________________________________________________
     Linebarger Goggan Blair & Sampson, LLP                                       Last 4 digits of account number       3636                               448.03
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      P.O. Box 359
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Topeka                              KS        66601-0359                    
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
             Debtor 1 only


      
      ✔      Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Midland Credit Management, Inc.
4.45 _____________________________________________________________                                                      4733
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           9,388.27
                                                                                                                                                          $_________________
       2365 Northside Drive                                                       When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
       Suite 300
      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      San Diego                           CA        92108
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Midland Funding LLC
4.46 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                            9,449.91
                                                                                                                                                          $__________________
       2365 Northside Drive
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street
       Suite 300
      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      San Diego                           CA        92108
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.47 _____________________________________________________________
     Midwest Mechanical Heating and Air Conditioning                              Last 4 digits of account number                                          79.00
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      2111 W Harry St
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67213                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Midwest Roofing Supply
4.48 _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           13,584.77
                                                                                                                                                          $_________________
       1310 S Osage St                                                            When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67213
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Midwest Truck Equipment
4.49 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                            114.23
                                                                                                                                                          $__________________
       200 W 61st St N
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wichita                             KS        67204
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.50 _____________________________________________________________
     Minter & Pollak, LC                                                          Last 4 digits of account number       742                                372.75
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      8080 E. Central
      _____________________________________________________________
      Number            Street

      Suite 300
      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67206                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      New Medical Health Care
4.51 _____________________________________________________________                                                      0422
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           235.00
                                                                                                                                                          $_________________
       2131 N Ridge Rd                                                            When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67212
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Office Depot OfficeMax
4.52 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       3001
                                                                                                                                                            288.06
                                                                                                                                                          $__________________
       2401 Midpoint Drive
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Kansas City                         KS        66111
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.53 _____________________________________________________________
     PP Station                                                                   Last 4 digits of account number                                          743.40
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      2601 N. Broadway St
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67219                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      PayPal Credit
4.54 _____________________________________________________________                                                      7487
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           1,420.61
                                                                                                                                                          $_________________
       PO Box 105658                                                              When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Atlanta                             GA        30348-5658
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Protection One Alarm Monitoring Inc.
4.55 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       3630
                                                                                                                                                            921.51
                                                                                                                                                          $__________________
       P.O. Box 219044
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Kansas City                         MO        64121-9044
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.56 _____________________________________________________________
     Public Works & Utilities                                                     Last 4 digits of account number       1429                               290.09
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      455 N Main St
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67202                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Utility Services
                                                                                      Other. Specify ______________________________________

      
       ✔ No

             Yes

      Public Works & Utilities
4.57 _____________________________________________________________                                                      6117
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           28.20
                                                                                                                                                          $_________________
       455 N Main St                                                              When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67202
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Utility Services
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Quality Roofing Installation, LLC.
4.58 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       1017
                                                                                                                                                            4,000.00
                                                                                                                                                          $__________________
       1218 Washington St
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wichita                             KS        67211
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.59 _____________________________________________________________
     Sage Payment Solutions                                                       Last 4 digits of account number       5561                               234.50
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      12120 Sunset Hills Road
      _____________________________________________________________
      Number            Street

      Suite 500
      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Reston                              VA        20190                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Scottrade
4.60 _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           Unknown
                                                                                                                                                          $_________________
       7777 E 21st St N #130                                                      When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67206
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
             Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
      ✔      Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Southwest National Bank
4.61 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       1200
                                                                                                                                                            249,914.19
                                                                                                                                                          $__________________
       PO Box 1401
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Wichita                             KS        67201
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.62 _____________________________________________________________
     Southwest National Bank/Visa                                                 Last 4 digits of account number       3400                               0.00
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      PO Box 1401
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67201                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Southwest National Bank/Visa
4.63 _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           150,000.00
                                                                                                                                                          $_________________
       PO Box 1401                                                                When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67201
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Southwest National Bank/Visa
4.64 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       0469
                                                                                                                                                            3,065.46
                                                                                                                                                          $__________________
       PO Box 4517
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Carol Stream                        IL        60197-4517
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
             Yes

4.65 _____________________________________________________________
     Star Lumber & Supply Co., Inc.                                               Last 4 digits of account number       6260                               1,707.10
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      P.O. Box 7712
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67277                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      Tennison Bros inc.
4.66 _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           1,805.52
                                                                                                                                                          $_________________
       1021 S. Washington                                                         When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67211
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Tennison Brothers, Inc.
4.67 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number
                                                                                                                                                            60,412.83
                                                                                                                                                          $__________________
       P.O. Box 40126
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Memphis                             TN        38174-0126
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.68 _____________________________________________________________
     The Sherwin-Williams Co                                                      Last 4 digits of account number       7848                               74.60
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      1705 N Wabash St
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Wichita                             KS        67214-1449                    
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      TimePayment Corp.
4.69 _____________________________________________________________                                                      0817
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           779.55
                                                                                                                                                          $_________________
       1600 District Ave                                                          When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
       Suite 200
      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Burlington                          MA        01803
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Tokio Marine HCC-Surety Group
4.70 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       8674
                                                                                                                                                            3,675.00
                                                                                                                                                          $__________________
       801 South Figueroa Street
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street
       Suite 700
      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Los Angeles                         CA        90017
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.71 _____________________________________________________________
     Tokio Marine HCC-Surety Group                                                Last 4 digits of account number                                          16,158.00
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      801 South Figueroa Street
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Los Angeles                         CA        90017                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔   Other. Specify ______________________________________

      
       ✔ No

             Yes

      United Fire & Casualty Company
4.72 _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           2,030.00
                                                                                                                                                          $_________________
       P.O. Box 73909                                                             When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Cedar Rapids                        IA        52407-3909
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes


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                                                                                                                                                                      26 of ___
                                                                                                                                                                            31
                    Mui V Nguyen
 Debtor 1          _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      United Fire Group
4.73 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       2047
                                                                                                                                                            3,260.00
                                                                                                                                                          $__________________
       P.O. Box 3244
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Cedar Rapids                        IA        52406-3244
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
             Yes

4.74 _____________________________________________________________
     Von Maur                                                                     Last 4 digits of account number       1409                               108.00
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      6565 Brady St
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Davenport                           IA        52806                         
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
             Debtor 1 only


      
      ✔      Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Credit Card Debt
                                                                                      Other. Specify ______________________________________

      
       ✔ No

             Yes

      Waste Management of Wichita
4.75 _____________________________________________________________                                                      3009
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           1,011.42
                                                                                                                                                          $_________________
       P.O. Box 9001054                                                           When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      Louisville                          KY        40290-1054
                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
      ✔      Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Utility Services
             Yes


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   Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page __
                                                                                                                                                                      27 of ___
                                                                                                                                                                            31
                    Mui V Nguyen
Debtor 1           _______________________________________________________                            Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
      Westar Energy
4.76 _____________________________________________________________
      Nonpriority Creditor’s Name                                                 Last 4 digits of account number       4015
                                                                                                                                                            578.74
                                                                                                                                                          $__________________
       P.O. Box 758500
      _____________________________________________________________               When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      Topeka                              KS        66675-8500
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
      Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


      
      ✔      Debtor 1 only                                                            Disputed


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                              
                                                                                  
                                                                                      Student loans

            Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                   ✔   Other. Specify ______________________________________
                                                                                                      Utility Services
             Yes

4.77 _____________________________________________________________
     Westar Energy                                                                Last 4 digits of account number       4773                               252.94
                                                                                                                                                          $__________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?          ____________
      P.O. Box 758500
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________     As of the date you file, the claim is: Check all that apply.
      Topeka                              KS        66675-8500                    
                                                                                  
      _____________________________________________________________                   Contingent
      City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

      
      Who incurred the debt? Check one.
                                                                                      Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
             Debtor 1 and Debtor 2 only


                                                                                  
             At least one of the debtors and another                                  Student loans

      
                                                                                      Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
      Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Utility Services
                                                                                      Other. Specify ______________________________________

      
       ✔ No

             Yes

      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                          $_________________
                                                                                  When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                  
      Who incurred the debt? Check one.                                               Contingent

                                                                                 
                                                                                      Unliquidated

      
             Debtor 1 only
                                                                                      Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
             At least one of the debtors and another

                                                                                 
                                                                                      Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

      
             No
                                                                                      Other. Specify ______________________________________
             Yes


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                                                                                                                                                                      28 of ___
                                                                                                                                                                            31
                 Mui V Nguyen
Debtor 1        _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      AG Adjustments
     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      740 Walt Whitman Road                                                       4.68 of (Check one):
                                                                             Line _____                     Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                             Last 4 digits of account number      7848
      Melville                        NY
     _____________________________________________________
                                                                11747-9090
     City                                   State               ZIP Code

      Belger Cartage Service, Inc.
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      2555 S Kessler Circle                                                         4.70 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Wichita                         KS
     _____________________________________________________      67217         Last 4 digits of account number      8674
     City                                   State               ZIP Code


      Capital One
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      15000 Capital One Dr                                                         4.16 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

     Richmond                         VA
     _____________________________________________________      23238         Last 4 digits of account number     2884
     City                                   State               ZIP Code

      Discover
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      P. O. Box 30396                                                               4.31 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Salt Lake City                  UT
     _____________________________________________________
                                                                84130-0396
                                                                              Last 4 digits of account number     3549
     City                                   State               ZIP Code

      Elan Financial Service
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      P.O. Box 108                                                                  4.39 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

     St Louis                         MO
     _____________________________________________________      63166         Last 4 digits of account number
     City                                   State               ZIP Code

      First Grade Excavating, Inc.
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      430 E. 63rd St South                                                          4.71 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Wichita                         KS
     _____________________________________________________      67216         Last 4 digits of account number
     City                                   State               ZIP Code

      John M. Molle
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      10777 Barkley
     _____________________________________________________                          4.28 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     Number          Street
                                                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 130
     _____________________________________________________                    Claims
      Overland Park                   KS         66211
     _____________________________________________________
                                                                              Last 4 digits of account number
     City                                   State               ZIP Code

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                                                                                                                                                                   31
                 Mui V Nguyen
Debtor 1        _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Joshua A. Pollak
     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      8080 E. Central                                                             4.28 of (Check one):
                                                                             Line _____                     Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
      Suite 300
     _____________________________________________________
                                                                             Last 4 digits of account number
      Wichita                         KS
     _____________________________________________________      67206
     City                                   State               ZIP Code

      Kansas Department of Labor
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1309 SW Topeka Boulevard                                                      2.2 of (Check one):
                                                                              Line _____                   
                                                                                                           ✔ Part 1: Creditors with Priority Unsecured Claims

                                                                                                            Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                              Claims

      Topeka                          KS
     _____________________________________________________      66612         Last 4 digits of account number
     City                                   State               ZIP Code


      Kansas Department of Revenue
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      915 SW Harrison Street                                                       4.44 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

     Topeka                           KS
     _____________________________________________________
                                                                66625-2007
                                                                              Last 4 digits of account number
     City                                   State               ZIP Code

      Robert P. Burns, P.A., Attorney at Law
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      9435 E Central, Bldg 100                                                      4.70 of (Check one):
                                                                              Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           
     _____________________________________________________
     Number          Street                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                              Claims

      Wichita                         KS
     _____________________________________________________      67206         Last 4 digits of account number     8674
     City                                   State               ZIP Code

      Unemployment Contact Center
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      P.O. Box 3539                                                                 2.2 of (Check one):
                                                                              Line _____                   
                                                                                                           ✔ Part 1: Creditors with Priority Unsecured Claims

                                                                                                            Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                              Claims

     Topeka                           KS
     _____________________________________________________
                                                                66601-3539
                                                                              Last 4 digits of account number
     City                                   State               ZIP Code

      Unemployment Tax Contributions
     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      401 SW Topeka Blvd                                                            2.2 of (Check one):
                                                                              Line _____                   
                                                                                                           ✔ Part 1: Creditors with Priority Unsecured Claims

                                                                                                            Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                              Claims

      Topeka                          KS         66606-3182
     _____________________________________________________                    Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                    On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                    Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                            Part 2: Creditors with Nonpriority Unsecured
     Number          Street

     _____________________________________________________                    Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                              Last 4 digits of account number

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                                                                                                                                                                   31
               Mui V Nguyen
Debtor 1       _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add t he Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                        0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                  12,825.23
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                        0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                    12,825.23
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                         0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                            0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                        0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                  920,753.83


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                   920,753.83
                                                                                        $_________________________




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  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page __
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                                                                                                                                                         31
 Fill in this information to identify your case:

                       Mui V Nguyen
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name
                      Kimdung Thi Pham
 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Kansas     District of ________
                                                                                  (State)

                                                                                                                                         Check if this is an
 Case number           ___________________________________________
  (If known)
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

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Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
 Fill in this information to identify your case:

                     Mui V Nguyen
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               Kimdung Thi Pham
                        ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Kansas     District of ________
                                                                                               (State)


                                                                                                                                                  Check if this is an
 Case number            ____________________________________________
  (If known)

                                                                                                                                                    amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                              12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      
      ✔    No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           
                   No
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                        ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                               Check all schedules that apply:


                                                                                                               
3.1
         ________________________________________________________________________________                          Schedule D, line ______
                                                                                                               
         Name
                                                                                                                   Schedule E/F, line ______
                                                                                                               
         ________________________________________________________________________________
          Street                                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code


                                                                                                               
3.2
         ________________________________________________________________________________                          Schedule D, line ______
                                                                                                               
         Name
                                                                                                                   Schedule E/F, line ______
                                                                                                               
         ________________________________________________________________________________
          Street                                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code


                                                                                                               
3.3
         ________________________________________________________________________________                          Schedule D, line ______
                                                                                                               
         Name
                                                                                                                   Schedule E/F, line ______
                                                                                                               
         ________________________________________________________________________________
          Street                                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                        ZIP Code

                                              Case 17-12241                    Doc# 1         Filed 11/15/17   Page 56 of 89
Official Form 106H                                                             Schedule H: Your Codebtors                                             page 1 of ___
                                                                                                                                                                 1
 Fill in this information to identify your case:

                      Mui V Nguyen
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2
                      Kimdung Thi Pham
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Kansas    District of ___________
                                                                                (State)
 Case number         ___________________________________________                                      Check if this is:
                                                                                                       An amended filing
  (If known)


                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                      Debtor 2 or non-filing spouse

    If you have more than one job,
                                                                                                                      
    attach a separate page with                                       ✔ Employed                                       ✔
                                                                       Not employed                                   
    information about additional         Employment status                                                                 Employed
    employers.                                                                                                             Not employed
    Include part-time, seasonal, or
    self-employed work.                                               CMM Programmer/Operator                        Assembler
                                         Occupation                 __________________________________             __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                                                       Buffco Engineering Inc                          Spirit Aerosystems
                                         Employer’s name            __________________________________              __________________________________


                                         Employer’s address           200 Industrial Dr
                                                                   _______________________________________           P.O. Box 780008
                                                                                                                  ________________________________________
                                                                    Number Street                                  Number    Street

                                                                   _______________________________________        ________________________________________

                                                                   _______________________________________        ________________________________________

                                                                      Mulvane, KS 67110
                                                                   _______________________________________            Wichita, KS 67278
                                                                                                                  ________________________________________
                                                                    City            State  ZIP Code                 City                State ZIP Code

                                          How long employed there?________________________
                                                                   1 day                                            ________________________
                                                                                                                     1 month


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.       3,200.00                1,940.00
                                                                                                $___________           $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________
                                                                                                         0.00      +            0.00
                                                                                                                       $____________


 4. Calculate gross income. Add line 2 + line 3.                                          4.       3,200.00
                                                                                                $__________                1,940.00
                                                                                                                       $____________




Official Form 106I
                                    Case 17-12241            Doc# 1 Filed 11/15/17
                                                              Schedule I: Your Income
                                                                                                      Page 57 of 89                            page 1
Debtor 1
                 Mui  V Nguyen
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        3,200.00
                                                                                                                          $___________                1,940.00
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________                  260.32
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
                                     Good Nghbor Fnd
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +          10.00
                                                                                                                                                  $_____________
    _____________________________________________________________
                                                                                                                                 0.00
                                                                                                                         $____________            $____________
                                                                                                                                                           0.00
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________
                                                                                                                                                          0.00
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________                  270.32
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        3,200.00
                                                                                                                         $____________                1,669.68
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            3,200.00
                                                                                                                         $___________     +           1,669.68
                                                                                                                                                  $_____________      =      4,869.68
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             4,869.68
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income

     
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔ No.
      Yes. Explain:

  Official Form 106I
                                          Case 17-12241                        Doc# 1 Filed 11/15/17
                                                                                Schedule I: Your Income
                                                                                                                                Page 58 of 89                               page 2
  Fill in this information to identify your case:

                     Mui V Nguyen
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:

                                                                                                              An amended filing
                      Kimdung Thi Pham
  Debtor 2            ________________________________________________________________

                                                                                                              A supplement showing postpetition chapter 13
  (Spouse, if filing) First Name             Middle Name                 Last Name

                                          District of Kansas
  United States Bankruptcy Court for the: ______________________ District of __________
                                                                                     (State)
                                                                                                                 expenses as of the following date:
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

    No. Go to line 2.
   
   ✔ Yes. Does Debtor 2 live in a separate household?
               
               ✔ No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No
                                           
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?

                                                                                                                                                  No
   Debtor 2.                                   each dependent..........................

                                                                                                                                                 
   Do not state the dependents’                                                            Son
                                                                                          _________________________                 16
                                                                                                                                   ________
   names.                                                                                                                                        ✔ Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                          _________________________                ________

                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                          _________________________                ________

                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                          _________________________                ________

                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                          _________________________                ________


3. Do your expenses include
                                           
                                           
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 2,021.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                   150.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                 Case 17-12241               Doc# J:
                                                                Schedule 1 Your
                                                                             Filed  11/15/17
                                                                                Expenses                        Page 59 of 89                          page 1
                    Mui V Nguyen
 Debtor 1          _______________________________________________________                 Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                     $_____________________
                                                                                                                                      0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                  6a.    $_____________________
                                                                                                                                   250.00
        6b.   Water, sewer, garbage collection                                                                6b.    $_____________________
                                                                                                                                   100.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $_____________________
                                                                                                                                   260.00
        6d.   Other. Specify: _______________________________________________                                 6d.    $_____________________
                                                                                                                                      0.00
 7. Food and housekeeping supplies                                                                            7.     $_____________________
                                                                                                                                   750.00
 8. Childcare and children’s education costs                                                                  8.     $_____________________
                                                                                                                                   100.00
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_____________________
                                                                                                                                    50.00
10.    Personal care products and services                                                                    10.    $_____________________
                                                                                                                                    65.00
11.    Medical and dental expenses                                                                            11.    $_____________________
                                                                                                                                   255.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                     $_____________________
                                                                                                                                   180.00
       Do not include car payments.                                                                           12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $_____________________
                                                                                                                                    20.00
14.     Charitable contributions and religious donations                                                      14.    $_____________________
                                                                                                                                   280.00
                                                                                                                                                    1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                   15a.   $_____________________
                                                                                                                                      0.00
        15b. Health insurance                                                                                 15b.   $_____________________
                                                                                                                                   200.00
        15c. Vehicle insurance                                                                                15c.   $_____________________
                                                                                                                                   150.00
        15d. Other insurance. Specify:_______________________________________                                 15d.   $_____________________
                                                                                                                                      0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                     16.
                                                                                                                                     0.00
                                                                                                                     $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                       17a.   $_____________________
                                                                                                                                      0.00
        17b. Car payments for Vehicle 2                                                                       17b.   $_____________________
                                                                                                                                      0.00
        17c. Other. Specify:_______________________________________________                                   17c.   $_____________________
                                                                                                                                      0.00
        17d. Other. Specify:_______________________________________________                                   17d.   $_____________________
                                                                                                                                      0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                    0.00
                                                                                                                     $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                         19.
                                                                                                                                      0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                      20a.   $_____________________
                                                                                                                                      0.00
        20b. Real estate taxes                                                                                20b.   $_____________________
                                                                                                                                      0.00
        20c. Property, homeowner’s, or renter’s insurance                                                     20c.   $_____________________
                                                                                                                                      0.00
        20d. Maintenance, repair, and upkeep expenses                                                         20d.   $_____________________
                                                                                                                                      0.00
        20e. Homeowner’s association or condominium dues                                                      20e.   $_____________________
                                                                                                                                      0.00


      Official Form 106J               Case 17-12241              Doc# J:
                                                                 Schedule 1 Your
                                                                              Filed  11/15/17
                                                                                 Expenses        Page 60 of 89                             page 2
                   Mui V Nguyen
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 4,831.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 4,831.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       4,869.68
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 4,831.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                     38.68
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J               Case 17-12241            Doc# J:
                                                               Schedule 1 Your
                                                                            Filed  11/15/17
                                                                               Expenses                Page 61 of 89                            page 3
Fill in this information to identify your case:

Debtor 1           Mui V Nguyen
                  __________________________________________________________________
                    First Name                 Middle Name          Last Name

Debtor 2           Kimdung   Thi Pham
                   ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name          Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Kansas      District of __________
                                                                                (State)
Case number         ___________________________________________

                                                                                                                                          Check if this is an
(If known)


                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
       
       ✔

             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Mui V Nguyen
          ______________________________________________           _____________________________
                                                                     /s/ Kimdung Thi Pham
         Signature of Debtor 1                                         Signature of Debtor 2


              11/15/2017
         Date _________________                                              11/15/2017
                                                                       Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                  Declaration
                                            Case 17-12241    Doc#About
                                                                    1 an Individual
                                                                       Filed        Debtor’s Schedules
                                                                              11/15/17        Page 62 of 89
 Fill in this information to identify your case:

 Debtor 1          Mui V Nguyen
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2             Kimdung Thi Pham
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Kansas      District of ______________
                                                                             (State)


                                                                                                                                         Check if this is an
 Case number         ___________________________________________
  (If known)
                                                                                                                                           amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                          4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
       Not married
      ✔ Married




 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     
     ✔     No
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                  lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       __________                                                             To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1


               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       ________                                                               To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No
     
     ✔

           Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 1
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Debtor 1        Mui V Nguyen
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                               Debtor 2

                                                                Sources of income            Gross income              Sources of income          Gross income
                                                                Check all that apply.        (before deductions and    Check all that apply.      (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                   Wages, commissions,                                
                                                                                                                       ✔   Wages, commissions,
                                                                                             $________________                                    $________________
                                                                                                                      
                                                                    bonuses, tips             0.00                         bonuses, tips           970.00
            the date you filed for bankruptcy:
                                                                    Operating a business                                   Operating a business


            For last calendar year:
                                                                   Wages, commissions,                                   Wages, commissions,

                                                                                                                      
                                                                    bonuses, tips            $________________
                                                                                              0.00                         bonuses, tips          $________________
                                                                                                                                                   0.00
            (January 1 to December 31, _________)
                                       2016                         Operating a business                                   Operating a business
                                              YYYY



            For the calendar year before that:                     Wages, commissions,                                   Wages, commissions,

                                                                                                                      
                                                                    bonuses, tips                                          bonuses, tips
                                                                                             $________________
                                                                                              101,508.00                                          $________________
                                                                                                                                                   0.00
            (January 1 to December 31, _________)
                                       2015                     ✔   Operating a business                                   Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     
     ✔     No
           Yes. Fill in the details.

                                                     Debtor 1                                                           Debtor 2

                                                     Sources of income             Gross income from                    Sources of income         Gross income from
                                                     Describe below.               each source                          Describe below.           each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________          _________________________           $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________           $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________           $_________________


                                         _________________________ $________________                           _________________________          $________________
For last calendar year:
                                         _________________________ $________________                           _________________________          $________________
(January 1 to
                                         _________________________ $_________________                          _________________________          $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________          $________________
before that:                             _________________________ $________________                           _________________________          $________________
(January 1 to                            _________________________ $_________________                          _________________________          $_________________
December 31, _________)




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Debtor 1       Mui V Nguyen
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid        Amount you still owe       Was this payment for…
                                                                       payment


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________            _________
                                                                                                                                         Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________            _________

                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________            _________                                                          Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________            _________

                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________            _________     $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________            _________                                                          Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________            _________

                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1            Mui V Nguyen
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     
     ✔     No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     
     ✔     No
           Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




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Debtor 1          Mui  V Nguyen
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     
           No
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                                                                    Civil; Date filed: 09/08/2017
                                                                                                                                                          
                  D.J. Roofing, Inc. vs. Roof
    Case title:                                                                                            In The Eighteenth Judicial District Court, Sedgwick County, Kansas, Civil D
                  Mechanics, Inc. et. al.                                                                 ________________________________________        ✔ Pending

                                                                                                                                                          
                                                                                                          Court Name
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          525 N Main Street
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded

                                                                                                           Wichita           KS     67203
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number 2017-CV-002066-CO
                ________________________


                                                                                                          ________________________________________           Pending

                                                                                                                                                          
                                                                                                          Court Name
    Case title:
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     
     ✔     No. Go to line 11.
           Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                                                                                
                   _________________________________________
                                                                                     Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                                                                                
                   City                               State   ZIP Code
                                                                                     Property was attached, seized, or levied.



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Debtor 1          Mui V Nguyen
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     
     ✔     No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     
     ✔     No
           Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     
     ✔     No
           Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1            Mui V Nguyen
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     
     ✔     No
           Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔
     
           No
           Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Dollar Learning Foundantion, Inc.
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________
                                                                                                                                         10/19/2017          $_____________
                                                                                                                                                               14.95

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


              www.dollarbk.org
             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
                                                                                                         Checking
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___                                      _________              $___________
            ____________________________________
                                                                                                         Savings
                                                                                                         Money market
            Number       Street



                                                                                                         Brokerage
            ____________________________________


                                                                                                         Other__________
            ____________________________________
            City                       State    ZIP Code




            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
                                                                                                         Savings
            Name of Financial Institution


                                                                                                         Money market
            ____________________________________

                                                                                                         Brokerage
            Number       Street

            ____________________________________

            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for


     
     securities, cash, or other valuables?


     
     ✔  No
           Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                               
                                                                                                                                                               
                                                                                                                                                                   No
            ____________________________________                  _______________________________________
            Name of Financial Institution                                                                                                                          Yes
                                                                  Name

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




    
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


    
    ✔      No
           Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                            No
                                                                                                                                                                            Yes
             ___________________________________                     _______________________________________
             Name of Storage Facility                                Name

             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,


     
     or hold in trust for someone.


     
     ✔   No
           Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     
     ✔     No
           Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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Debtor 1           Mui V Nguyen
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     
     ✔     No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     
     ✔     No
           Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case


                                                                                                                                                                          
           Case title
                                                                    ________________________________                                                                          Pending

                                                                                                                                                                          
                                                                    Court Name
                                                                                                                                                                              On appeal

                                                                                                                                                                          
                                                                    ________________________________
                                                                    Number     Street                                                                                         Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss


           
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?


           
           ✔    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time


           
                A member of a limited liability company (LLC) or limited liability partnership (LLP)


           
                A partner in a partnership
                An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     
           No. None of the above applies. Go to Part 12.
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            Roof Mechanics, Inc.
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Construction

            3205 N. Broadway St
            ____________________________________                                                                                       EIN: ___
                                                                                                                                             4 ___
                                                                                                                                                 8 – ___
                                                                                                                                                     0 ___
                                                                                                                                                         7 ___
                                                                                                                                                           8 ___
                                                                                                                                                               4 ___
                                                                                                                                                                  6 ___
                                                                                                                                                                     0 ___
                                                                                                                                                                        7
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Wichita             KS     67219                                                                                           From 09/01/2003
                                                                                                                                             _______                To 06/30/2017
                                                                                                                                                                       _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
                                        Case 17-12241                      Doc# 1               Filed 11/15/17                Page 73 of 89
Debtor 1           Mui V Nguyen
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     
     ✔     No
           Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Mui V Nguyen
            ______________________________________________                        _____________________________
                                                                                     /s/ Kimdung Thi Pham
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  11/15/2017                                                         Date _________________
                                                                                           11/15/2017
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      
      ✔      No
             Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
      
      ✔

            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
                                        Case 17-12241                     Doc# 1         Filed 11/15/17             Page 74 of 89
Fill in this information to identify your case:

                  Mui V Nguyen
Debtor 1          __________________________________________________________________
                    First Name              Middle Name                Last Name
                  Kimdung Thi Pham
Debtor 2           ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name




                                                                                                                                               Check if this is an
                                        ______________________
United States Bankruptcy Court for the:District of Kansas      District of __________
                                                                                   (State)
Case number         ___________________________________________
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
                                                                                        Retain the property and redeem it.                Yes
          name:           CitiMortgage

                                                                                       
         Description of          319 Cavalcade Cir                                     ✔ Retain the property and enter into a
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________


         Creditor’s                                                                     Surrender the property.                           No
                                                                                        Retain the property and redeem it.                Yes
         name:

                                                                                        Retain the property and enter into a
         Description of
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
                                                                                        Retain the property and redeem it.                Yes
         name:

                                                                                        Retain the property and enter into a
         Description of
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
                                                                                        Retain the property and redeem it.                Yes
         name:

         Description of
         property                                                                       Retain the property and enter into a

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.


                                                                                             ______________________________________
                                        Case 17-12241              Doc# 1              Filed 11/15/17            Page 75 of 89
  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
                     Mui V Nguyen & Kimdung Thi Pham
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Mui V Nguyen
         ___________________________________________           /s/ Kimdung Thi Pham
                                                                  ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             11/15/2017
     Date _________________
                                                                        11/15/2017
                                                                   Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108
                                     Case 17-12241       Doc# 1 Filed 11/15/17 Page 76 of 89
                                           Statement of Intention for Individuals Filing Under Chapter 7                              page 2
 Fill in this information to identify your case:                                                         Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
                    Mui V Nguyen
                                                                                                         
 Debtor 1          __________________________________________________________________
                     First Name               Middle Name                 Last Name
                                                                                                         ■   1. There is no presumption of abuse.
                                                                                                         
 Debtor 2           Kimdung    Thi Pham
                    ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                 Last Name                          2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
                                          __________
 United States Bankruptcy Court for the: District of Kansas
                                                          District of __________                                Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                            3. The Means Test does not apply now because of
 (If known)                                                                                                     qualified military service but it could apply later.


                                                                                                          Check if this is an amended filing

Official Form 122A─1
Cha pt e r 7 St a t e m e nt of Y our Curre nt M ont hly I nc om e                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Pa rt 1 :       Ca lc ula t e Y our Curre nt M ont hly I nc om e



       Not married. Fill out Column A, lines 2-11.
 1. What is your marital and filing status? Check one only.


      
      ✔ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).
                                                                                                           3,200.00
                                                                                                          $_________             1,940.00
                                                                                                                                $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.
                                                                                                           0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.
                                                                                                           0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________

 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
    Gross receipts (before all deductions)                                 0.00
                                                                          $______         0.00
                                                                                        $______
      Ordinary and necessary operating expenses                           0.00 –
                                                                       – $______          0.00
                                                                                        $______

                                                                                          0.00 here
                                                                                                  Copy                           0.00
      Net monthly income from a business, profession, or farm              0.00
                                                                          $______       $______              0.00
                                                                                                          $_________            $__________

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
    Gross receipts (before all deductions)                                $______
                                                                           0.00           0.00
                                                                                        $______
      Ordinary and necessary operating expenses                        – $______
                                                                          0.00 –          0.00
                                                                                        $______

                                                                                          0.00 here
                                                                                                  Copy
      Net monthly income from rental or other real property                0.00
                                                                          $______       $______             0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________
 7. Interest, dividends, and royalties                                                                      0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________


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Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income
Debtor 1           Mui  V Nguyen
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

    8. Unemployment compensation                                                                                                    0.00
                                                                                                                                  $__________                   0.00
                                                                                                                                                               $___________

       under the Social Security Act. Instead, list it here: ............................... 
       Do not enter the amount if you contend that the amount received was a benefit


           For you .................................................................................. $______________
           For your spouse................................................................... $______________

    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                                      0.00
                                                                                                                                  $__________                  0.00
                                                                                                                                                              $___________
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.

         ______________________________________                                                                                    0.00
                                                                                                                                  $_________                   0.00
                                                                                                                                                              $___________
         ______________________________________                                                                                    0.00
                                                                                                                                  $_________                   0.00
                                                                                                                                                              $___________
         Total amounts from separate pages, if any.                                                                               0.00
                                                                                                                               + $_________                   0.00
                                                                                                                                                           + $___________
    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                         3,200.00
                                                                                                                                  $_________
                                                                                                                                                       +       1,940.00
                                                                                                                                                              $___________
                                                                                                                                                                                  = $__________
                                                                                                                                                                                     5,140.00
                                                                                                                                                                                    Total current
                                                                                                                                                                                    monthly income

    Pa rt 2 :     De t e rm ine Whe t he r t he M e a ns T e st Applie s t o Y ou

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here          5,140.00
                                                                                                                                                                                  $__________

                Multiply by 12 (the number of months in a year).                                                                                                                  x 12
       12b.     The result is your annual income for this part of the form.                                                                                                12b.     61,680.00
                                                                                                                                                                                  $__________

    13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                              KS

       Fill in the number of people in your household.                                   3

       Fill in the median family income for your state and size of household. ............................................................................................. 13.     72,221.00
                                                                                                                                                                                  $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?

       14a. 
            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.

    Pa rt 3 :      Sign Be low




                  /s/ Mui V Nguyen                                                                                      ______________________________________
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                        __________________________________________________________                                        /s/ Kimdung Thi Pham
                       Signature of Debtor 1                                                                              Signature of Debtor 2

                            11/15/2017
                       Date _________________                                                                                  11/15/2017
                                                                                                                          Date _________________
                            MM / DD / YYYY                                                                                     MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯

                                              Case 17-12241                         Doc# 1              Filed 11/15/17               Page 78 of 89
Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income
AAA PORTABLE SERVICES LLC          BIZFI
P.O. BOX 16973                     460 PARK AVENUE S
WICHITA, KS 67216                  10TH FL
                                   NEW YORK, NY 10016
AG ADJUSTMENTS
740 WALT WHITMAN ROAD              BUSBY FORD & REIMER, LLC
MELVILLE, NY 11747-9090            10000 WEST 37TH ST NORTH
                                   WICHITA, KS 67205
ALSIDE SUPPLY CENTER, WICHITA
3002 W PAWNEE                      CAPITAL ONE
SUITE 106                          15000 CAPITAL ONE DR
WICHITA, KS 67213                  RICHMOND, VA 23238

AMERICAN INTERSTATE INSURANCE      CAPITAL ONE BANK (USA) N.A.
CO.                                P.O. BOX 60599
2301 HWY 190 WEST                  CITY OF INDUSTRY, CA 91716-0599
DERIDDER, LA 70634
                                   CARLISLE ROOFING SYSTEMS INC.
AMERICAN MECHANICAL INC.           21485 NETWORK PLACE
1608 US-54                         CHICAGO, IL 60673-1227
ANDOVER, KS 67002
                                   CENTRAL STEEL INC.
ARICK HUGHES AND SONS              240 W 10TH ST N
335 S MERIDIAN AVE                 WICHITA, KS 67203
VALLEY CENTER, KS 67147
                                   CHASE CARD
ASSOCIATED INDUSTRIES INC.         PO BOX 15123
225 N WABASH AVE                   WILMINGTON, DE 19850
WICHITA, KS 67214
                                   CITIMORTGAGE
ATLAS ELECTRIC LLC.                PO BOX 6243
1607 N WABASH AVE                  SIOUX FALLS, SD 57117
WICHITA, KS 67214
                                   CITY BLUE PRINT, INC.
BELGER CARTAGE SERVICE, INC.       1400 E. WATERMAN
2555 S KESSLER CIRCLE              P.O. BOX 544
WICHITA, KS 67217                  WICHITA, KS 67201

BETTER BUSINESS BUREAU             CITY OF WICHITA
345 N RIVERVIEW                    P.O. BOX 4209
SUITE 720                          WICHITA, KS 67204
WICHITA, KS 67203
                                   CLASSIC FORMS & DESIGN CO
                                   2417 W 13TH ST N
                                   WICHITA, KS 67203




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COMMERCIAL TRADE SERVICES           FINCHER'S FINDINGS, INC.
510 E 46TH ST S                     900 W CENTRAL
WICHITA, KS 67216                   P.O. BOX 289
                                    MEDICINE LODGE, KS 67104
COX BUSINESS
PO BOX 1259                         FIRST GRADE EXCAVATING, INC.
OAKS, PA 19456                      430 E. 63RD ST SOUTH
                                    WICHITA, KS 67216
D.J. ROOFING SUPPLY, INC.
P.O. BOX 8165                       HILTON PLASTER CO., INC.
SPRINGFIELD, MO 65801               P.O. BOX 9181
                                    WICHITA, KS 67277
DEPARTMENT OF THE TREASURY
INTERNAL REVENUE SERVICE            INTRUST BANK, NA
KANSAS CITY, MO 64999-0149          PO BOX 1
                                    WICHITA, KS 67201-5001
DISCOVER
P. O. BOX 6103                      INTRUST BANK/ CARDMEMBER
CAROL STREAM, IL 60197-6103         SERVICE
                                    PO BOX 790408
DISCOVER                            ST. LOUIS, MO 631790408
P. O. BOX 30396
SALT LAKE CITY, UT 84130-0396       JAMES T. WIESEN
                                    3205 N. BROADWAY ST
DISCOVER PERSONAL LOANS             WICHITA, KS 67219
PO BOX 6105
CAROL STREAM, IL 60197-6105         JOHN M. MOLLE
                                    10777 BARKLEY
ECOPURE                             OVERLAND PARK, KS 66211
255 NORTH HYDRAULIC
WICHITA, KS 67214                   JOSHUA A. POLLAK
                                    8080 E. CENTRAL
ELAN FINANCIAL SERVICE              WICHITA, KS 67206
P.O. BOX 108
ST LOUIS, MO 63166                  KCNR, LLC
                                    230 S. LAURA
FEDEX REVENUE RECOVERY DEPT         SUITE 101
P.O. BOX 94515                      WICHITA, KS 67211
PALATINE, IL 60094-4515
                                    KAMEN WIPING MATERIALS
FERRELLGAS                          3930 N BRIDGEPORT CIRCLE
P.O. BOX 173940                     WICHITA, KS 67219
DENVER, CO 80217-3940
                                    KANSAS DEPARTMENT OF LABOR
                                    1309 SW TOPEKA BOULEVARD
                                    TOPEKA, KS 66612




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KANSAS DEPARTMENT OF LABOR           NEW MEDICAL HEALTH CARE
266 N MAIN ST                        2131 N RIDGE RD
SUITE 100                            WICHITA, KS 67212
WICHITA, KS 67202
                                     OFFICE DEPOT OFFICEMAX
KANSAS DEPARTMENT OF REVENUE         2401 MIDPOINT DRIVE
915 SW HARRISON STREET               KANSAS CITY, KS 66111
TOPEKA, KS 66625-2007
                                     PP STATION
KANSAS GAS SERVICES                  2601 N. BROADWAY ST
P.O. BOX 219046                      WICHITA, KS 67219
KANSAS CITY, MO 64121
                                     PAYPAL CREDIT
LINEBARGER GOGGAN BLAIR &            PO BOX 105658
SAMPSON, LLP                         ATLANTA, GA 30348-5658
P.O. BOX 359
TOPEKA, KS 66601-0359                PROTECTION ONE ALARM
                                     MONITORING INC.
MIDLAND CREDIT MANAGEMENT, INC.      P.O. BOX 219044
2365 NORTHSIDE DRIVE                 KANSAS CITY, MO 64121-9044
SUITE 300
SAN DIEGO, CA 92108                  PUBLIC WORKS & UTILITIES
                                     455 N MAIN ST
MIDLAND FUNDING LLC                  WICHITA, KS 67202
2365 NORTHSIDE DRIVE
SUITE 300                            QUALITY ROOFING INSTALLATION,
SAN DIEGO, CA 92108                  LLC.
                                     1218 WASHINGTON ST
MIDWEST MECHANICAL HEATING AND       WICHITA, KS 67211
AIR CONDITIONI
2111 W HARRY ST                      ROBERT P. BURNS, P.A., ATTORNEY
WICHITA, KS 67213                    AT LAW
                                     9435 E CENTRAL, BLDG 100
MIDWEST ROOFING SUPPLY               WICHITA, KS 67206
1310 S OSAGE ST
WICHITA, KS 67213                    SAGE PAYMENT SOLUTIONS
                                     12120 SUNSET HILLS ROAD
MIDWEST TRUCK EQUIPMENT              SUITE 500
200 W 61ST ST N                      RESTON, VA 20190
WICHITA, KS 67204
                                     SCOTTRADE
MINTER & POLLAK, LC                  7777 E 21ST ST N #130
8080 E. CENTRAL                      WICHITA, KS 67206
SUITE 300
WICHITA, KS 67206                    SOUTHWEST NATIONAL BANK
                                     PO BOX 1401
                                     WICHITA, KS 67201




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SOUTHWEST NATIONAL BANK/VISA        UNITED FIRE & CASUALTY COMPANY
PO BOX 1401                         P.O. BOX 73909
WICHITA, KS 67201                   CEDAR RAPIDS, IA 52407-3909

SOUTHWEST NATIONAL BANK/VISA        UNITED FIRE GROUP
PO BOX 4517                         P.O. BOX 3244
CAROL STREAM, IL 60197-4517         CEDAR RAPIDS, IA 52406-3244

STAR LUMBER & SUPPLY CO., INC.      VON MAUR
P.O. BOX 7712                       6565 BRADY ST
WICHITA, KS 67277                   DAVENPORT, IA 52806

TENNISON BROS INC.                  WASTE MANAGEMENT OF WICHITA
1021 S. WASHINGTON                  P.O. BOX 9001054
WICHITA, KS 67211                   LOUISVILLE, KY 40290-1054

TENNISON BROTHERS, INC.             WESTAR ENERGY
P.O. BOX 40126                      P.O. BOX 758500
MEMPHIS, TN 38174-0126              TOPEKA, KS 66675-8500

THE SHERWIN-WILLIAMS CO
1705 N WABASH ST
WICHITA, KS 67214-1449

TIMEPAYMENT CORP.
1600 DISTRICT AVE
SUITE 200
BURLINGTON, MA 01803

TOKIO MARINE HCC-SURETY GROUP
801 SOUTH FIGUEROA STREET
LOS ANGELES, CA 90017

TOKIO MARINE HCC-SURETY GROUP
801 SOUTH FIGUEROA STREET
SUITE 700
LOS ANGELES, CA 90017

UNEMPLOYMENT CONTACT CENTER
P.O. BOX 3539
TOPEKA, KS 66601-3539

UNEMPLOYMENT TAX
CONTRIBUTIONS
401 SW TOPEKA BLVD
TOPEKA, KS 66606-3182




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                             United States Bankruptcy Court
                             District of Kansas




         Mui V Nguyen & Kimdung Thi Pham
In re:                                                         Case No.

                                                               Chapter    7
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              11/15/2017                          /s/ Mui V Nguyen
Date:
                                                  Signature of Debtor

                                                  /s/ Kimdung Thi Pham
                                                  Signature of Joint Debtor




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N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee

     Your debts are primarily consumer debts.
                                                                +          $15     trustee surcharge
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home

                                                                mortgage or repossess an automobile.
      Chapter 7 — Liquidation


                                                                However, if the court finds that you have
      Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct

                                                                described in the Bankruptcy Code, the court
      Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file

                                                                chapter 7 and you receive a discharge, some
      Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
                                                                
decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1


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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your

                                                                case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;

                                                                If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2

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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
                                                                
          $235    filing fee
                                                                     debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
                                                                
and to discharge some debts that are not paid.
                                                                     certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3

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                                                                A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                     c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                If you are filing a joint case, both spouses must
c onse que nc e s
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4

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 B2030 (Form 2030) (12/15)


                                  United States Bankruptcy Court
                                                               District of Kansas
                                           __________________________________


 In re   Mui V Nguyen & Kimdung Thi Pham

                                                                                                         Case No. _______________

Debtor      Mui Nguyen
                                                                                                          Chapter________________
                                                                                                                  7



                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
   above named debtor(s) and that compensation paid to me within one year before the filing of the
   petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
   the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                700.00



      Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                             700.00



      Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                               0.00


2. The source of the compensation paid to me was:

             Debtor                                 Other (specify)

3. The source of compensation to be paid to me is:

             Debtor                                 Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they
     are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a other person or persons who
are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
of the people sharing the compensation is attached.

5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
   bankruptcy case, including:
     a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
        whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
        required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
        adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                               CERTIFICATION
          I certify that the foregoing is a complete statement of any agreement or arrangement for
              payment to me for representation of the debtor(s) in this bankruptcy proceeding.

           11/15/2017                        /s/ Abdul Arif, P76234
        _____________________               _________________________________________
        Date                                      Signature of Attorney
                                             The Law Office of Abdul Q. Arif
                                            _________________________________________
                                                ​Name of law firm
                                             3116 East 31st Street South
                                             Wichita, KS 67216
                                             (316)200-1707
                                             abdulqarifesq@gmail.com



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